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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
 MKM:TH/MKP                                        271 Cadman Plaza East
 F. #2017R01840                                    Brooklyn, New York 11201



                                                   October 12, 2018


 By ECF

 The Honorable Vera M. Scanlon
 United States Magistrate Judge
 United States District Court
 225 Cadman Plaza East
 Brooklyn, New York 11201

               Re:     United States v. Keith Raniere, et al.
                       Criminal Docket No. 18-204 (NGG) (S-1)

 Dear Judge Scanlon:

               The government respectfully submits this letter to provide an update to the
 Court on the status and anticipated schedule of its production of Rule 16 discovery materials.

               Since September 25, 2018, when the government filed its most recent letter to
 the Court regarding discovery, see ECF Docket Entry 143 and accompanying list, the
 government has produced over 27,000 pages of discovery, including (1) the results of
 searches of an iCloud account belonging to Lauren Salzman, (2) the results of searches of
 two email accounts, (3) records from banks and other companies, and (4) materials provided
 to the government by witnesses in this case. In addition, the government has provided all
 defendants with additional copies of materials on devices from 8 Hale Drive. 1

                In the coming weeks, the government expects to begin providing results of its
 searches of the following materials: an email account belonging to defendant Keith Raniere,
 an email account belonging to defendant Clare Bronfman, and three electronic accounts
 belonging to defendant Allison Mack. In addition, the government expects to provide copies

        1
               The only items from 8 Hale Drive that remain to be produced in full to
 defendants are items 1B49 and 1B18, which both contain videos and cassette tapes. The
 government is in the process of converting these materials into a form that the defendants can
 easily view and expects to produce copies of these devices within the next two weeks. In the
 interim, counsel for the defendants may inspect the original devices at the FBI.
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 of legal documents and filings from NXIVM Corp., et al. v. Ross Institute, et al., 06 CV 1051
 (D.N.J.). With respect to the devices seized from the residence of defendant Nancy Salzman,
 the government has filed a motion to disclose, to all defendants in this case, full forensic
 copies of these devices pursuant to protective order, see ECF Docket Entry 158. The motion
 is pending with the Court, but counsel for Nancy Salzman has indicated that she may
 withdraw her objection to disclosure of the devices pending further discussions with the
 government. If the government and counsel for Nancy Salzman reach agreement, the
 government will promptly provide, to all defendants, forensic copies of the devices, which
 constitute the bulk of electronic discovery in the government’s possession.

                The government has also sought additional information from the FBI
 regarding the devices that were unable to be accessed by CART due to encryption or other
 technical failure. 2 The FBI has been able to access one item, a video recorder (item no.
 1B86), and a copy of its contents will be produced as soon as practicable. However, the FBI
 cannot provide any estimate of the likely production date regarding the other items (1B87,
 1B85, 1B74, and 1B71), which remain inaccessible to the government.

                 As indicated in the joint letter setting forth a proposed schedule, see ECF
 Docket Entry No. 157, and its prior letters to the Court regarding discovery, the government
 anticipates that it will have substantially completed production of discovery materials
 currently in its possession that are not subject to a claim of privilege by December 7, 2018.
 However, the government’s investigation is ongoing and it continues to receive new records
 from a variety of sources.

                The government is engaged in a continuing process of reviewing the records it
 receives from these various sources to determine whether they contain Rule 16 material (or
 otherwise give rise to disclosure obligations) and, if they do, disclosing the records on a
 rolling basis as promptly as practicable. The government, however, does not intend to
 provide a comprehensive list identifying such materials that were obtained pursuant to
 subpoena or from witnesses, victims, and others, prior to determining whether they constitute
 or contain discoverable material. The government notes that such a list is not required by
 Rule 16 and would not be consistent with the practice of the district courts within this
 Circuit. Rule 16(a)(1)(E) provides that:

               Upon a defendant’s request, the government must permit the defendant
               to inspect and to copy . . . documents . . . if the item is within the
               government’s possession, custody, or control and: (i) the item is
               material to preparing the defense; (ii) the government intends to use the
               item in its case-in-chief at trial; or (iii) the item was obtained from or
               belongs to the defendant.

        2
                The FBI has reported that the Apple device with designated item number 1B14
 was only partially accessed and a portion remains locked. The FBI has undertaken
 substantial efforts to access the locked portion without success.


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 As numerous courts have recognized, this Rule “merely requires that the Government
 produce documents falling into the three enumerated categories.” United States v.
 Reddy, 190 F. Supp. 2d 558, 571 (S.D.N.Y. 2002); United States v. Roberts, No. 01 CR 410
 RWS, 2001 WL 1646732, at *14 (S.D.N.Y. Dec. 17, 2001) (“The Government has already
 provided, and is in the process of providing, discovery to the defendant as required under
 Rule 16 of the Federal Rules of Criminal Procedure. Rule 16 does not require the
 Government to provide a list or index of the documents produced.”); see also, e.g., United
 States v. Kaplan, No. 02 CR. 883 (DAB), 2003 WL 22880914, at * 21 (Dec. 5, 2003); United
 States v. Nachamie, 91 F. Supp. 2d 565, 570 (S.D.N.Y. 2000). To the extent the Court’s
 October 3, 2018 order directs the government to provide such a list, which would include
 materials the government has not yet determined are discoverable, the government
 respectfully requests an opportunity to submit additional briefing and legal authority on this
 issue.

                 Lastly, the government notes that it has requested reciprocal discovery from
 the defendants and has not received any. The government again asserts its right to reciprocal
 discovery under Rule 16(b) of the Federal Rules of Criminal Procedure. Specifically, the
 government requests that the defendants allow inspection and copying of: (1) any books,
 papers, documents, photographs, tapes, and tangible objects that are in the defendant’s
 possession, custody or control and that the defendants intend to introduce as evidence or
 otherwise rely on at trial and (2) any results or reports of physical or mental examinations
 and of scientific tests or examinations, made in connection with this case, that are in the
 defendants’ possession, custody or control, and that the defendants intend to introduce as
 evidence or otherwise rely on at trial or that were prepared by a witness whom a defendant
 intends to call at trial.


                                                     Respectfully submitted,

                                                     RICHARD P. DONOGHUE
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                                            By:        /s/
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 cc:    Clerk of Court (NGG) (by ECF)
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